Case 2:05-cr-02075-EFS   ECF No. 1498   filed 09/18/06   PageID.6552 Page 1 of 6
Case 2:05-cr-02075-EFS   ECF No. 1498   filed 09/18/06   PageID.6553 Page 2 of 6
Case 2:05-cr-02075-EFS   ECF No. 1498   filed 09/18/06   PageID.6554 Page 3 of 6
Case 2:05-cr-02075-EFS   ECF No. 1498   filed 09/18/06   PageID.6555 Page 4 of 6
Case 2:05-cr-02075-EFS   ECF No. 1498   filed 09/18/06   PageID.6556 Page 5 of 6
Case 2:05-cr-02075-EFS   ECF No. 1498   filed 09/18/06   PageID.6557 Page 6 of 6
